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                     EXHIBIT 5
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                                                                          Page 1

                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF FLORIDA
                - - - - - - - - - - - - - - - - - - - - x
                IRA KLEIMAN, as the personal
                representative of the Estate of
                David Kleiman and W&K Info Defense
                Research, LLC,

                              Plaintiffs,
                                               CASE NO.:
                      -against-               9:18-CV-80176-BB/BR

                CRAIG WRIGHT,

                              Defendant.

                - - - - - - - - - - - - - - - - - - - - x


                            Zoom video conference deposition of
                       KEVIN MADURA, taken pursuant to notice,
                       was held remotely, commencing April 30,
                       2020, 9:00 a.m., before Leslie Fagin, a
                       Stenographic Court Reporter and Notary
                       Public in the State of New York.

                                            - - -



                                MAGNA LEGAL SERVICES
                         320 West 37th Street, 12th Floor
                            New York, New York 10018
                                  (866) 624-6221
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                                                                         Page 42
           1                        K. Madura
           2    have contributed to the Bitcoin code base?
           3                  MS. MARKOE:        Objection.
           4           A.     I don't think that's impossible.
           5           Q.     So it could be that someone who had
           6    less than a bachelor's degree in computer
           7    science would have sufficient ability to
           8    contribute meaningfully to the Bitcoin code
           9    bit?
          10                  MS. MARKOE:        Objection.
          11           A.     It would be inconsistent with my
          12    assessment of the complexity of the Bitcoin
          13    code as it stood.
          14           Q.     So I'm confused now.           Is it minimum
          15    requirement to contribute meaningfully to the
          16    Bitcoin code base, a bachelor's in computer
          17    science or not?
          18           A.     I haven't determined a minimum
          19    requirement for contribution to the code,
          20    only that it's -- the background required
          21    would be consistent with someone or --
          22    someone with extensive experience in computer
          23    programming.
          24           Q.     Mr. Madura, you are aware that Bill
          25    Gates dropped out of college, right?
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                                                                         Page 43
           1                        K. Madura
           2                  MS. MARKOE:        Objection.
           3            Q.    Was he a talented programmer?
           4                  MS. MARKOE:        Objection.
           5            A.    He has programmed in the past, yes.
           6            Q.    Was he a talented programmer?
           7                  MS. MARKOE:        Objection, outside the
           8            scope.
           9            Q.    You can answer.
          10            A.    Bill Gates developed Microsoft
          11    operating system, which is a complex piece of
          12    code, so, yes, he is a talented programmer.
          13            Q.    He did that without a bachelor's
          14    degree, didn't he?
          15                  MS. MARKOE:        Objection.
          16            A.    He did.
          17            Q.    Mr. Madura, do you know who John
          18    Carmack is?
          19                  MS. MARKOE:        Objection.
          20            A.    No.
          21            Q.    So, Mr. Madura, I want to bring you
          22    back.
          23                  Why is it that your report, when
          24    reviewing Dave Kleiman's qualifications, did
          25    not list the fact or take into account or
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                                                                         Page 44
           1                        K. Madura
           2    even mention the fact that he had been
           3    educated at Palm Beach Community College and
           4    Embry-Riddle University where he was majoring
           5    in computer science?
           6                  MS. MARKOE:        Objection.
           7           A.     I took that into account when
           8    studying his background as a whole, to
           9    determine whether or not his background and
          10    experience would have been consistent with
          11    the skills required to contribute to the
          12    Bitcoin code.
          13           Q.     Did you review which classes he
          14    took while enrolled in Palm Beach Community
          15    College and Embry-Riddle University?
          16                  MS. MARKOE:        Objection.
          17           A.     I did not.
          18           Q.     How did you make a determination
          19    about what he was taught there?
          20           A.     Again, I looked at his background
          21    in its entirety to determine whether or not
          22    it would be consistent with the skills
          23    required to meaningfully contribute or code
          24    the original Bitcoin version.
          25           Q.     Do you know how long he was at Palm
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                                                                         Page 46
           1                        K. Madura
           2           A.     I did not.
           3                  MS. MARKOE:        Objection.
           4           Q.     And I know we established you
           5    didn't review the courses he took when
           6    majoring in computer science at Palm Beach
           7    Community College and Embry-Riddle
           8    University, but did you review any courses he
           9    took while in high school?
          10                  MS. MARKOE:        Objection.
          11           A.     I did not.
          12           Q.     How did you -- let me ask you this
          13    question.       Do you know whether or not Dave
          14    Kleiman ever attended a course on programming
          15    at some point before 2008?
          16                  MS. MARKOE:        Objection.
          17           A.     I don't know that for certain.
          18           Q.     What did you do to rule out the
          19    possibility that he did attend such a
          20    programming course?
          21                  MS. MARKOE:        Objection.
          22           A.     I did not rule out that
          23    possibility.        I looked at his professional
          24    background and his experience as a whole to
          25    determine whether or not his background would
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                                                                         Page 49
           1                        K. Madura
           2           A.     I am.
           3           Q.     Are you how did you rule out the
           4    possibility that he didn't attend a class on
           5    programming or watched YouTube videos or
           6    otherwise used the internet to teach himself
           7    how to code after that?
           8                  MS. MARKOE:        Objection.
           9           A.     In reviewing his skills and
          10    experience and background, I made a
          11    determination and an opinion whether or not
          12    his background would have been consistent
          13    with developing complex code that
          14    incorporates concepts across the field of
          15    computer science, as well as other fields and
          16    developed the original Bitcoin code.
          17           Q.     Have you reviewed every book in
          18    Dave Kleiman's house?
          19                  MS. MARKOE:        Objection.
          20           A.     I have not.
          21           Q.     Have you reviewed every book Dave
          22    Kleiman has ever read?
          23                  MS. MARKOE:        Objection.
          24           A.     I have not.
          25           Q.     How do you rule out the possibility
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                                                                         Page 57
           1                        K. Madura
           2           We've been going about an hour.
           3           Q.     Isn't it possible, Mr. Madura that
           4    Dave Kleiman taught himself C++, to some
           5    extent?
           6                  MS. MARKOE:        Objection.
           7           A.     To some extent, perhaps, yes.
           8           Q.     Isn't it possible he taught himself
           9    C++, to an extent that he was able to
          10    contribute to the Bitcoin code base?
          11                  MS. MARKOE:        Objection.
          12           A.     It would be inconsistent with the
          13    materials I reviewed regarding his
          14    background.
          15           Q.     But it would be possible, right,
          16    Mr. Madura?
          17                  MS. MARKOE:        Objection.
          18           A.     It's inconsistent, but possible.
          19           Q.     Is it possible -- Mr. Madura, we
          20    have gone over a bunch of different areas of
          21    Dave Kleiman's history that you weren't able
          22    to review, his college coursework, his high
          23    school coursework, whether he attended any
          24    online courses, is that accurate?
          25                  MS. MARKOE:        Objection.
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                                                                         Page 67
           1                        K. Madura
           2            A.    I don't recall.
           3            Q.    Do you ever recall having an
           4    opportunity to review your call and see if
           5    you got it right or wrong, so, for example,
           6    you said, don't hire this guy, they did, and
           7    he turned out to be an excellent coder or you
           8    said, do hire this guy, and they did, and he
           9    turned out to be a terrible coder, so my
          10    question is, has that ever happened that you
          11    had an opportunity to look back at your
          12    recommendation and determine whether you were
          13    right or wrong?
          14                  MS. MARKOE:        Objection.
          15            A.    I don't recall.
          16            Q.    Sitting here today, can you tell
          17    me, like, a known error rate of how often you
          18    were right or wrong?
          19                  MS. MARKOE:        Objection.
          20            A.    Again, I'm offering my opinion as
          21    to the qualifications of Dave Kleiman as it
          22    pertains to the ability to construct this
          23    code.
          24            Q.    That wasn't my question, Mr.
          25    Madura.
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                                                                         Page 68
           1                          K. Madura
           2                   Sitting here today, can you tell me
           3    a known error rate of your methodology for
           4    opining on people's ability or the
           5    consistency of their education with ability
           6    to program?
           7                   MS. MARKOE:        Objection.
           8            A.     I haven't conducted a scientific
           9    examination of my method, no.
          10            Q.     Mr. Madura, you understand that
          11    Dave Kleiman held himself out as a forensic
          12    investigator from 1997 until 2013, correct?
          13            A.     Yes.
          14            Q.     Do you need to know C++ code to be
          15    a good forensic investigator?
          16            A.     No.
          17            Q.     Isn't it true that C++ coding was
          18    not relevant to Dave Kleiman's public facing
          19    experience as a forensic investigator?
          20                   MS. MARKOE:        Objection.
          21            A.     Could you repeat the question?
          22            Q.     Isn't it true that C++ coding
          23    wasn't relevant to Dave Kleiman's public
          24    facing forensic investigative business?
          25                   MS. MARKOE:        Objection.
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                                                                         Page 80
           1                        K. Madura
           2            A.     I don't know much about Satoshi
           3    Nakamoto, so that's possible.
           4            Q.     Mr. Madura, you reviewed a report
           5    that Dave Kleiman issued in the Lighthouse
           6    Investment Partners versus Stacey Tenant
           7    (phonetic) case.
           8                   Do you remember that?
           9            A.     I do.
          10            Q.     You said it didn't reference C++
          11    coding, correct?
          12            A.     Correct.
          13            Q.     Was C++ coding relevant to that
          14    report?
          15                   MS. MARKOE:       Objection.
          16            A.     I don't believe so.
          17            Q.     Could that be why he didn't mention
          18    any C++ coding expertise?
          19                   MS. MARKOE:       Objection.
          20            A.     In describing his background, David
          21    Kleiman didn't mention anything about
          22    computer programming or C++ experience.
          23            Q.     Because it wasn't relevant to the
          24    report, right?
          25                   MS. MARKOE:       Objection.
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                                                                         Page 81
           1                        K. Madura
           2            A.     I'm not sure of the specifics of
           3    the intention, but that's correct, yes.
           4            Q.     Mr. Madura, you reviewed the
           5    deposition of Kimon Andreou, right?
           6            A.     I did.
           7            Q.     In that deposition, Mr. Andreou
           8    says that Dave was familiar with computer
           9    programming or he could dabble, but was not a
          10    programmer.
          11                   Do you recall that testimony?
          12                   MS. MARKOE:       Objection.
          13            A.     I don't recall that specific line.
          14            Q.     Let's see if we can get it for you.
          15    I will try to share with you the deposition
          16    of Mr. Andreou.
          17                   MR. FREEDMAN:        Are we on No. 4?
          18                   (Exhibit 4, marked for
          19            identification.)
          20            Q.     This is the deposition of Kimon
          21    Andreou.
          22                   Is this the deposition you
          23    reviewed?
          24            A.     I believe so.        I can't be exactly
          25    certain without comparing the documents.
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                                                                         Page 82
           1                        K. Madura
           2            Q.     I will represent to you it's the
           3    only deposition transcript of Kimon Andreou
           4    in this case, so it has to be the same one.
           5                   Do you see here, there is a
           6    question on line 17 of page 9?                The question
           7    is, Was Dave like a computer programmer?
           8                   Do you see that?
           9            A.     I do.
          10            Q.     And then the answer, No, he was
          11    familiar with it, he could dabble, but was
          12    not a programmer.
          13            A.     I see that line, yes.
          14            Q.     Is it possible that this level of
          15    understanding may have enabled Dave Kleiman
          16    to edit code, but perhaps not write it from
          17    scratch?
          18                   MS. MARKOE:       Objection.
          19            A.     It depends entirely on the language
          20    that was being used at the time.
          21            Q.     You don't know which language was
          22    being used?
          23            A.     I don't know what language Mr.
          24    Andreou was referring to, no.
          25            Q.     But if it was C++, then it would be
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                                                                         Page 90
           1                        K. Madura
           2                   MR. FREEDMAN:        He has yet to answer
           3            it.
           4            Q.     Mr. Madura, is it possible that
           5    Dave Kleiman laid out the logic behind
           6    certain components of the Bitcoin code and
           7    used someone else to formally program it?
           8                   MS. MARKOE:       Objection, asked and
           9            answered.
          10            A.     It would be highly inconsistent,
          11    but in the realm of all possibilities, it
          12    would be possible.
          13            Q.     Thank you.
          14                   Mr. Madura, do you know when these
          15    interactions between Mr. Andreou and Dave
          16    Kleiman occurred?
          17            A.     Not specifically, no.
          18            Q.     So you don't know whether or not
          19    Dave Kleiman improved his coding ability
          20    since that interaction, do you?
          21                   MS. MARKOE:       Objection.
          22            A.     Nothing in the material I reviewed
          23    regarding his background would indicate that.
          24            Q.     But you are not aware of whether --
          25    it's possible he could have improved his
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                                                                         Page 91
           1                        K. Madura
           2    coding capability, isn't it?
           3                   MS. MARKOE:       Objection.
           4            A.     I'm not aware whether he did or did
           5    not.
           6            Q.     It's possible he did, correct?
           7                   MS. MARKOE:       Objection.
           8            A.     I suppose it's possible, yes.
           9            Q.     Mr. Madura, I'm going to share with
          10    you, I think now we are on Exhibit 5.                   It's a
          11    document produced in this litigation, Bates
          12    labeled Defense Australia 11 -- actually, for
          13    the record, it's Defaus, underscore,
          14    00115950.
          15                   (Exhibit 5, marked for
          16            identification.)
          17            Q.     Did you review this document in
          18    preparing your report?
          19            A.     Not that I recall.
          20            Q.     I will bring you down to the middle
          21    of this document.
          22                   Do you see an email on March 7,
          23    2014 from Craig Wright, craig@                          ?
          24            A.     I see that on the screen, yes.
          25            Q.     Can you read this email for me for
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                                                                         Page 93
           1                        K. Madura
           2            record, this document seems to be a
           3            piece of an email chain.
           4                   MR. FREEDMAN:        This is the way it
           5            was produced to us.
           6                   MS. MARKOE:       I understand.
           7            A.     Okay.
           8            Q.     Do you want to read this email for
           9    the record or do you want to keep going up?
          10            A.     This is the next email in the
          11    chain.       I can read it if you like.
          12            Q.     I want you to be able to talk about
          13    it, so if you want to take a moment to review
          14    the whole document and then we can go back to
          15    it.
          16            A.     I think it would be useful to have
          17    context.
          18            Q.     So, now, can you please read for
          19    the record the email on March 7, 2014 at 3:22
          20    from Craig Wright at craig@                       ?
          21            A.     The text on the screen reads, Ira,
          22    What is true?          I had math skills and some
          23    coding that, frankly, was crud (better than
          24    some but really), Dave could edit his way
          25    through hell and back.             I am not a team
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                                                                         Page 94
           1                        K. Madura
           2    player, I am a terrible boss and slave
           3    driver, but with Dave, I was far more.
           4    Satoshi was a team.           Without the other part
           5    of that team, he died.             Regards, and then a
           6    signature.
           7            Q.     You previously testified that you
           8    did not review this email when reviewing Dave
           9    Kleiman's skill set, correct?
          10            A.     That's correct.
          11            Q.     You understand that Craig Wright
          12    testified that Dave Kleiman was his best
          13    friend?
          14                   MS. MARKOE:       Objection.
          15            A.     I don't recall that specifically,
          16    but if you say so.
          17            Q.     Do you think it would have been
          18    appropriate, given the review you have done,
          19    to take into account comments made by his
          20    best friend?
          21                   MS. MARKOE:       Objection.
          22            A.     Again, the materials I reviewed
          23    were in connection with his skills and
          24    capabilities, not necessarily his friendship.
          25            Q.     So this is an email chain between
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                                                                        Page 135
           1                        K. Madura
           2    rebuttal report, will you know what I am
           3    referring to?
           4            A.     I will.
           5            Q.     Did anyone assist you in the
           6    preparation of this report?
           7            A.     I worked on this report with
           8    colleagues at AlixPartners, but the opinions
           9    and conclusions are my own.
          10            Q.     Which colleagues did you work with?
          11            A.     I worked with Mr. David White.
          12            Q.     Anyone else?
          13            A.     Not that I can recall.
          14            Q.     When did you start to work on this
          15    report with Mr. White?
          16            A.     I have to go back to my timesheets
          17    to be certain.         I had assisted him in the
          18    drafting of his report and led to drafting my
          19    own, as well.
          20            Q.     When you are saying you assisted
          21    him in drafting his own report, are you
          22    referring to the report Mr. White submitted
          23    in January of this year?
          24            A.     I believe so, yes.
          25            Q.     Are you familiar with that report?
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                                                                        Page 163
           1                        K. Madura
           2            you put on the record that the witness
           3            probably can't recall or can recall
           4            stuff -- I'm sure it will be interesting
           5            later on.
           6            Q.     Mr. Madura, what can you recall
           7    about the work that you have done outside in
           8    your capacities as a consultant for this
           9    case?
          10                   MS. MARKOE:       Objection.
          11            Q.     You can answer.
          12                   MS. MARKOE:       I instruct him not to
          13            answer that, unless it relates
          14            specifically to his affirmative report,
          15            rebuttal report or Mr. Antonopoulos'
          16            report as a consulting, to the extent
          17            that it was done on a consulting basis.
          18                   MR. ROCHE:       I will note my
          19            objection that you can't use this as the
          20            consulting privilege as a sword and
          21            shield, so you can't offer a witness up
          22            as both an expert and consultant, so we
          23            preserve all rights with respect to the
          24            testimony and we will move to strike.
          25                   MS. MARKOE:       Here is what we are
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                                                                        Page 164
           1                        K. Madura
           2            going to do.       I was trying to be helpful
           3            to you and give you some information
           4            that could potentially be relevant to
           5            his testimony as a testifying expert.
           6            If you want to draw the line in the sand
           7            that it's all or nothing, that's fine,
           8            it will be nothing, and I'm going to
           9            instruct him that he is not to answer
          10            any questions regarding his testimony --
          11            any work he did as a consulting expert
          12            because he is not offering any opinions
          13            regarding that work.           He is offering
          14            opinions regarding what he is offering
          15            opinions about.         Those are disclosed to
          16            you in two reports.
          17                   You are not entitled to information
          18            about things that he may have provided
          19            on a consulting basis.            That has no
          20            relevance to his testifying opinions.
          21                   MR. ROCHE:       Understood.
          22            Q.     Mr. Madura, as I understand it, you
          23    performed work, both in your role as a
          24    consultant in this litigation and in your
          25    capacity as a testifying expert?
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                                                                        Page 169
           1                        K. Madura
           2            Q.     Mr. Madura, sitting here today, do
           3    you recall the substance of the consulting
           4    work you have performed in this case?
           5                   MS. MARKOE:       Objection, and I
           6            instruct him not to answer.
           7            Q.     Mr. Madura, do you recall
           8    approximately how much time you have spent in
           9    relation to the consulting work you have
          10    performed in this case?
          11                   MS. MARKOE:       Objection.
          12                   I'm going to instruct him not to
          13            answer.
          14                   I'm instructing you not to answer.
          15            Q.     Mr. Madura, did you perform any
          16    work in your context -- in your role as a
          17    consultant in the month of April related to
          18    this case?
          19                   MS. MARKOE:       Objection.       Give me a
          20            second.     Just give me one second.             I'm
          21            trying to make a decision.
          22                   Can you repeat the question?
          23                   (Record read.)
          24                   MS. MARKOE:       He can answer that
          25            question.      Sorry, it's going to be
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                                                                        Page 170
           1                        K. Madura
           2            question by question, Kyle.              I'm not
           3            trying to be difficult.
           4                   MR. ROCHE:       Understood.
           5            A.     I believe I have.
           6            Q.     Approximately how much time?
           7            A.     I don't know for certain.             Not
           8    much, considering most of my time was spent
           9    on these reports.
          10            Q.     In connection with the work you
          11    performed this month in your role as a
          12    consultant, what was the nature of that work?
          13                   MS. MARKOE:       Objection.
          14                   I'm going to instruct him not to
          15            answer.
          16            Q.     Did you do any work in your role as
          17    a consultant in March?
          18            A.     Role as a consultant?
          19                   MS. MARKOE:       Objection.
          20                   You can answer.
          21            A.     I don't recall.         I would have to
          22    look at my timesheet history.
          23            Q.     Did you perform any work in your
          24    role as a consultant in February?
          25                   MS. MARKOE:       Objection.
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                                                                        Page 171
           1                        K. Madura
           2                   You can answer.
           3            A.     I don't recall.         I would have to
           4    look at my timesheets again.
           5            Q.     Did you perform any work in your
           6    role as a consultant in January?
           7                   MS. MARKOE:       Objection.
           8                   You can answer.
           9            A.     I don't believe so.           I was away and
          10    out of the country for most of January.
          11            Q.     Did you perform -- last one of
          12    these questions.
          13                   Did you perform any work in your
          14    role as a consultant in December of 2019?
          15                   MS. MARKOE:       Objection.
          16                   You can answer.
          17            A.     Likely, yes, although I'm not
          18    particularly sure how much or if I have it
          19    all.
          20            Q.     What is the basis for you thinking
          21    it's likely?
          22            A.     Because most of my --
          23                   MS. MARKOE:       Objection.
          24            A.     Because most of my time recently
          25    has been spent on the written reports.
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                                                                        Page 172
           1                        K. Madura
           2            Q.     When was the first time you did
           3    work in your role as a consultant on this
           4    litigation?
           5                   MS. MARKOE:       Can you repeat the
           6            question?
           7                   (Record read.)
           8                   MS. MARKOE:       I'm going to object,
           9            but you can answer as to the when.
          10            A.     I don't know for certain.             Sometime
          11    in 2019, early 2019.
          12            Q.     Could it have been 2018?
          13                   MS. MARKOE:       Objection, but you can
          14            answer.
          15            A.     It could have been, I don't recall.
          16            Q.     Did any of the work you performed
          17    as a consultant in any way relate to your
          18    testimony as an expert?
          19                   MS. MARKOE:       Objection.
          20                   You can answer.
          21            A.     Not as it pertains to the drafting
          22    of the report.         They may share similarities
          23    in the technical understanding of certain
          24    topics.
          25            Q.     Have you reviewed the complaint in
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                                                                        Page 179
           1                        K. Madura
           2            testifying to and it's not about any
           3            consulting work that he did or did not
           4            do.
           5                   MR. ROCHE:       Okay, that's
           6            interesting.
           7            Q.     Have you reviewed any evidence
           8    suggesting Craig Wright is the owner of
           9    Bitcoin?
          10                   MS. MARKOE:       Objection, outside the
          11            scope.
          12            A.     As it pertains to the reports and
          13    the materials reviewed in drafting the
          14    reports, again, there are lists of Bitcoin
          15    that are proposed to be owned by Craig
          16    Wright.
          17            Q.     In your role as a consulting
          18    expert, did you review any evidence
          19    suggesting Craig Wright as an owner of
          20    Bitcoin?
          21                   MS. MARKOE:       Objection.
          22                   I instruct him not to answer as to
          23            consulting expert information.
          24            Q.     Have you reviewed any evidence
          25    suggesting Dave Kleiman was involved in the
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                                                                        Page 180
           1                        K. Madura
           2    creation of Bitcoin, in your role as a
           3    consulting expert?
           4                   MS. MARKOE:       Objection.
           5                   I'm going to instruct him not to
           6            answer, as it relates to a consulting
           7            expert.
           8                   Can you repeat the question?
           9                   MR. ROCHE:       Mr. Madura's report
          10            opines on the likelihood of Mr.
          11            Kleiman's involvement in the creation of
          12            Bitcoin, so I think --
          13                   MS. MARKOE:       But you threw in
          14            consulting expert and that's where I got
          15            confused, which is why I wanted the
          16            question repeated.
          17                   So go ahead.
          18            Q.     Have you reviewed evidence related
          19    to Dave Kleiman's involvement in the creation
          20    of Bitcoin in connection with your role as a
          21    consulting expert?
          22                   MS. MARKOE:       Can we stop for a
          23            second, Kyle.        Here is where -- I want
          24            to let you ask questions I think are
          25            legitimate.       I don't have all the case
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                                                                        Page 184
           1                        K. Madura
           2    Kleiman in the context of this litigation?
           3                   MS. MARKOE:       Objection.
           4                   You can answer, to the extent it
           5            relates to your reports.
           6            A.     I don't recall reviewing specific
           7    emails from Dave Kleiman in connection with
           8    the drafting of my reports.
           9            Q.     Did you -- and in the context of
          10    your consulting work, did you review emails
          11    from Dave Kleiman?
          12                   MS. MARKOE:       Objection.
          13                   I instruct you not to answer.
          14            Q.     Did you review emails from Craig
          15    Wright in the context of this litigation?
          16                   MS. MARKOE:       Objection.
          17            A.     I don't recall reviewing specific
          18    emails from Craig Wright in connection with
          19    drafting my reports.
          20            Q.     Did you review communications from
          21    Craig Wright in your capacity as a consulting
          22    expert in this litigation?
          23                   MS. MARKOE:       I'm going to instruct
          24            him not to answer.
          25            Q.     Based on the evidence you reviewed,
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                                                                        Page 185
           1                        K. Madura
           2    is Craig Wright the creator of Bitcoin?
           3                   MS. MARKOE:       Objection, outside the
           4            scope of the reports.
           5            A.     I don't have an opinion as to
           6    whether or not he is or is not.
           7            Q.     Have you reviewed evidence in the
           8    capacity as a consulting expert related to
           9    Craig Wright's involvement in the creation of
          10    Bitcoin?
          11                   MS. MARKOE:       I'm going to instruct
          12            him not to answer it as it relates to
          13            consulting.
          14            Q.     Have you reviewed any evidence
          15    identifying any Bitcoin owned by Dave
          16    Kleiman?
          17                   MS. MARKOE:       Objection.
          18                   You can answer, as it relates to
          19            the reports.
          20            A.     Again, I reviewed the lists as
          21    identified by Mr. Antonopoulos, including the
          22    DK list, which is implied to represent Dave
          23    Kleiman, but haven't made a determination as
          24    to whether or not Dave Kleiman owns or owned
          25    that Bitcoin.
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                                                                        Page 186
           1                        K. Madura
           2            Q.     Did you review any evidence related
           3    to Dave Kleiman's ownership of Bitcoin in
           4    your role as a consulting expert?
           5                   MS. MARKOE:       Objection.
           6                   I'm going to instruct him not to
           7            answer, to the extent it relates to
           8            consulting issues.
           9            Q.     Have you examined any data related
          10    to Dave Kleiman's electronic devices?
          11                   MS. MARKOE:       Objection, outside the
          12            scope of his report.
          13            Q.     You can answer.
          14            A.     In preparation for the reports
          15    here, I haven't reviewed any electronic
          16    devices of Dave Kleiman's.
          17            Q.     In your role as a consulting
          18    expert, did you review any of Dave Kleiman's
          19    electronic devices?
          20                   MS. MARKOE:       I'm instructing him
          21            not to answer as it relates to any
          22            consulting work that he did.
          23            Q.     I will tweak that question.
          24                   In your role as a consulting
          25    expert, did you review any of the electronic
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                                                                        Page 199
           1                        K. Madura
           2            want to take this to 8:00 tonight.
           3                   And, of course, if you make an
           4            objection without an instruction to
           5            answer, I will allow you to reserve all
           6            rights, including the clawback.
           7                   MS. MARKOE:       Can you repeat the
           8            question?
           9            Q.     Have you reviewed any evidence
          10    relating to Craig Wright's programming
          11    skills?
          12                   MS. MARKOE:       Objection, outside the
          13            scope.
          14            Q.     You can answer.
          15            A.     I haven't reviewed any materials in
          16    connection with the drafting of either report
          17    regarding Craig Wright's programming skills
          18    specifically or made a determination as to
          19    what that evidence might be.
          20            Q.     Have you reviewed any evidence in
          21    your capacity as a consultant relating to
          22    Craig Wright's coding skills?
          23                   MS. MARKOE:       Objection.
          24                   Instruct you not to answer.
          25                   MR. ROCHE:       Ms. Markoe, do you
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                                                                        Page 202
           1                        K. Madura
           2            Mr. Madura may or may not have reviewed
           3            on Relativity does not have any
           4            relationship to this -- to whether or
           5            not -- let me restart.            I apologize.
           6            I'm going to object to that because
           7            every single document that Mr. Madura
           8            may or may not have reviewed on
           9            Relativity does not pertain to his
          10            testimony as a testifying expert or his
          11            opinions as a testifying expert.
          12                   If there is anything that he
          13            reviewed that could have informed or
          14            did, in fact, inform his opinions, then
          15            we can discuss that issue more
          16            specifically, but your request for all
          17            documents that Mr. Madura has reviewed
          18            on Relativity for any purpose whatsoever
          19            is something that we will be objecting
          20            to and we will not produce to you and we
          21            will not provide that information.
          22            Q.     Have you reviewed any evidence
          23    relating to Dave -- strike that.
          24                   Have you reviewed any evidence
          25    related to Dave Kleiman's electronic devices?
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                                                                        Page 203
           1                        K. Madura
           2                   MS. MARKOE:       Objection.
           3                   I'm going to instruct him not to
           4            answer.
           5                   MR. ROCHE:       How does that not
           6            relate to what Mr. Kleiman may or may
           7            not have had on his electronic devices?
           8                   MS. MARKOE:       Tell me what that
           9            might have to do with his opinion as to
          10            Dave Kleiman's capacity to or his
          11            opinion as to Dave Kleiman's educational
          12            and experience background as it pertains
          13            to the drafting of the Bitcoin code or
          14            his rebuttal report to Mr. Antonopoulos
          15            and a review of -- sorry, I'm not being
          16            particularly articulate.
          17                   MR. ROCHE:       Mr. Madura opined on
          18            Mr. Kleiman's coding skills, and to the
          19            extent there are documents on Dave
          20            Kleiman's electronic devices that relate
          21            to his coding, that evidence would
          22            certainly be relevant to his opinion.
          23                   MS. MARKOE:       That question, fine,
          24            but whether or not he did any review of
          25            Dave Kleiman's electronic devices or any
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                                                                        Page 217
           1                        K. Madura
           2                   MR. ROCHE:       I'm asking whether or
           3            not he discussed with counsel the nature
           4            of his consulting work during the breaks
           5            -- strike that.         Whether or not he
           6            discussed anything related to his
           7            consulting work during the breaks.
           8                   MS. MARKOE:       Objection, but
           9            reserving.
          10            Q.     You can answer.
          11            A.     Can you repeat the question?
          12            Q.     Did you discuss with counsel
          13    anything related to your work as a consultant
          14    during the breaks today?             Yes or no is all
          15    I'm looking for.
          16            A.     I'm trying to determine whether it
          17    would be considered part of the consulting
          18    work or the expert work.
          19                   I think for these purposes, it's
          20    the consulting work.            I'm not sure.
          21            Q.     What was -- before the break, we
          22    were discussing Ethereum.
          23                   Do you know whether or not Ethereum
          24    has a hard cap on its supply?
          25                   MS. MARKOE:       Objection.
